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              EXHIBIT
                A
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                                                        Exhibit A to the Complaint
Location: Miami Beach, FL                                                                             IP Address: 72.28.158.119
Total Works Infringed: 47                                                                             ISP: Atlantic Broadband
 Work        Hash                                        Site                UTC          Published         CRO App. File    CRO Number
                                                                                                            Date
 1           734A1A74BFCBE6233F3C9EE2F286DCDCD530A241    Blacked             05/15/2018   04/30/2018        05/24/2018       PA0002101364
                                                                             21:01:39
 2           00D8AE3107F5AD5F27743AEC2FA4B6BD351674E8    Vixen               04/30/2018   04/29/2018        05/19/2018       16665915497
                                                                             06:37:27
 3           0C909C4D02F3EAD6B33F5ED497618ACAFB34E50A    Blacked             04/06/2018   04/05/2018        04/07/2018       16490992430
                                                                             16:02:20
 4           0CEAC20A97C692BE4BA6F6D3DBBBF98215436658    Blacked             03/02/2018   03/01/2018        04/12/2018       PA0002091580
                                                                             19:51:17
 5           0E375E71C9D654DC32B3C699D52FDDEC6945209E    Tushy               04/02/2018   04/01/2018        04/07/2018       16490950302
                                                                             04:20:07
 6           0ED1618079E29D4BB708465328D67B227B1AA795    Vixen               03/13/2018   03/10/2018        03/15/2018       16490992224
                                                                             00:57:05
 7           1ED7894C730F91D284F9451A87ECDC8F5187BF50    Blacked Raw         05/13/2018   05/12/2018        05/24/2018       PA0002101380
                                                                             18:46:46
 8           2811CD9D379E63E4729B3ACECD79FB2D7EA6EB5B    Blacked             03/18/2018   03/16/2018        04/12/2018       PA0002091582
                                                                             08:09:48
 9           28341A162EBC4CCAD12032532893896B668A879C    Vixen               04/13/2018   04/09/2018        05/19/2018       16665915448
                                                                             15:17:24
 10          31EF59E9D5E66FB4FF59BFFE051E98CB6C595DCB    Tushy               05/06/2018   05/06/2018        05/19/2018       16665887739
                                                                             23:21:23
 11          347CF8F689AB06EA13B049C0368C55251B95C771    Blacked             03/27/2018   03/26/2018        04/12/2018       PA0002091525
                                                                             13:41:36
 12          34F2386CF8C5A0818309C705E9AD58EFEAAE065F    Tushy               04/22/2018   04/21/2018        05/23/2018       PA0002101309
                                                                             16:57:42
 13          37CEEB514E156938D65BB04458823DE6BB7B42FD    Vixen               04/20/2018   04/19/2018        05/19/2018       16665888134
                                                                             17:35:09
 14          468F8F9C289EBCD1B02725682736E024D3F22872    Blacked Raw         03/29/2018   03/28/2018        04/12/2018       PA0002091513
                                                                             14:01:55
 15          55F7B9F32708505215277682261028FEDB590A60    Blacked             05/16/2018   05/15/2018        05/19/2018       16665888065
                                                                             14:51:43
 16          5602E15C76A2CB2369322872F6C53500FB225372    Blacked Raw         03/23/2018   03/23/2018        04/07/2018       16490992283
                                                                             23:27:58
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Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
17     5B1F17D1471204648826D120F6E497D42524C839   Vixen         05/05/2018   05/04/2018   05/19/2018      16665915546
                                                                13:31:50
18     63FCAE2CDCB7600D7F900209BDE7BE525AB392CD   Blacked       04/01/2018   03/31/2018   04/12/2018      PA0002091516
                                                                04:03:05
19     6A6084624F5CC5D9C0887AC02E58EE94D6989C29   Blacked       05/12/2018   05/10/2018   05/24/2018      PA0002101376
                                                                18:02:09
20     795B1E1B35EBCCF5CC5C19EA2E5F404108F25B88   Vixen         03/25/2018   03/25/2018   04/07/2018      16490950968
                                                                22:59:59
21     7A1551B9C87003EB6002EC500FBE59AAF1A921E3   Vixen         04/25/2018   04/24/2018   05/19/2018      16665915302
                                                                18:13:56
22     7A1F008C4454673B32CA603324D4525F2BC214CD   Tushy         05/04/2018   05/01/2018   05/19/2018      16665887555
                                                                21:41:41
23     7C8023CDDDFB52DA97E2E4A518C37DB69EFF28C5   Blacked       05/06/2018   05/05/2018   05/24/2018      PA0002101366
                                                                18:50:47
24     7DC57588C9BC4191F56D0767BE43E6945DB97C02   Vixen         03/21/2018   03/20/2018   04/12/2018      PA0002091523
                                                                18:27:28
25     801059F670983D536C0F8DC8C109E14B0DD8AFF2   Blacked       04/17/2018   04/15/2018   05/23/2018      PA0002101306
                                                                02:46:38
26     8B8DEE500ECB007329A8BDFE4876DF06B5568238   Blacked       04/13/2018   04/10/2018   05/23/2018      PA0002101304
                                                                14:36:47
27     8D59D2FF399FEF64B7DF0A0C5CE0A2FB593DAC6B   Blacked       04/27/2018   04/25/2018   05/19/2018      16665887869
                                                                01:20:25
28     919F08AD3394E61D9E19DC2CB3D8C4752FCEA9EE   Tushy         04/13/2018   04/11/2018   05/23/2018      PA0002101305
                                                                15:19:22
29     AA21E4389F1EF821FD82E16AC76EBAD03FAD8A58   Blacked Raw   04/17/2018   04/17/2018   05/23/2018      PA0002101308
                                                                23:57:11
30     AD5B2C54E6A1F387BDA08B9848BE8D988A2F2553   Blacked Raw   04/13/2018   04/07/2018   05/19/2018      16665887604
                                                                10:17:59
31     B2FD66E2AC3041F5BC1B47E10AB19BFE17034FE9   Blacked Raw   04/13/2018   04/12/2018   05/19/2018      16665887442
                                                                15:10:32
32     C305917CB90B7A4EC232E6AF48C5E525EFF4DBC7   Blacked Raw   04/23/2018   04/22/2018   05/24/2018      PA0002101381
                                                                19:02:20
33     C48F2225CFC83431D372530B844C1A33F787C036   Blacked       04/23/2018   04/20/2018   05/23/2018      PA0002101307
                                                                19:52:49
34     C7FDB4D8F863F6A8ED3A9B43299FD16C3911DC30   Blacked Raw   04/27/2018   04/27/2018   05/24/2018      PA0002101367
                                                                20:34:03
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Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
35     C97CC04C44D74896EDD95A4DAB2B94DB845BCA50 Tushy           03/12/2018   02/05/2018   02/20/2018      PA0002104194
                                                                17:30:46
36     CB01140AD9E1A09758CECAEEB9DB0E19B2169DEA   Blacked Raw   04/03/2018   04/02/2018   04/07/2018      16490950654
                                                                01:57:01
37     CBF9518C3C7EDAC8704E1BD3E9B1A3C8D522208A   Tushy         03/28/2018   03/27/2018   04/07/2018      16490950464
                                                                17:21:45
38     CCE9FA128205198C6A014556AFF4DC9D7866B695   Tushy         04/16/2018   04/16/2018   05/19/2018      16665915932
                                                                18:08:34
39     D61D660EFFF062A22636BD566F09DA817B3DCF26   Blacked Raw   03/19/2018   03/18/2018   04/07/2018      16490950543
                                                                17:19:59
40     D6AC2B28826E05C8736422200FA84E829638CF47   Vixen         03/31/2018   03/30/2018   04/07/2018      16490992551
                                                                15:33:54
41     D7FF2A6B26A8EB9B131FD59C812EAEAE049D7C8C   Vixen         04/05/2018   04/04/2018   04/07/2018      16490951145
                                                                00:09:47
42     DECCE09BD37A2AEE40691B886ABE776255CFA027   Vixen         05/10/2018   05/09/2018   05/19/2018      16665888184
                                                                15:31:27
43     DFCCBFB7EED852E6617D609C4731A1744A9862A9   Tushy         05/16/2018   05/16/2018   05/19/2018      16665887690
                                                                21:46:56
44     DFE186BEDAA84CD072E3081F3C41A1523068EC62   Blacked       03/03/2018   02/09/2018   03/02/2018      PA0002104745
                                                                18:21:42
45     ED8D4BFEBE54A9465BE0219B46DB11A0E99D2CE4   Blacked       03/09/2018   03/06/2018   04/12/2018      PA0002091581
                                                                15:10:18
46     F2BDC1C9982E2475C9CFD14CDE4B6F6D7233F3AA   Blacked Raw   05/08/2018   05/07/2018   05/19/2018      16665915253
                                                                00:14:31
47     FC6C3F4348C53D3DC1DDD5949FAF4EB3399C6363   Tushy         05/13/2018   05/11/2018   05/24/2018      PA0002101379
                                                                02:29:57
